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          FIL ED
 AO 91 (Rev. 11/11) Criminal Complaint                                       AUSA Brandon D. Stone (312) 613-9700

            1/2024
           3/2                           UNITED STATES DISTRICT COURT
                                         NORTHERN DISTRICT OF ILLINOIS
               . BRUTO    N
     THOMA.SDG
             IS T R IC T COURT                EASTERN DIVISION
  CLERK, U.S
 UNITED STATES OF AMERICA
                                                          CASE NUMBER:           24 CR 153
                         v.                               UNDER SEAL

 ADAM STAFFORD KING

                                             CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and
belief.
On or about September 11, 2023, in the Northern District of Illinois, Eastern Division, and elsewhere, the
defendant violated:
      Code Section                                     Offense Description
      Title 18, United States Code, Section            knowingly distributed child pornography, as defined
      2252A(a)(2)(A)                                   in Title 18, United States Code, Section 2256(8)(A),
                                                       using a means and facility of interstate commerce,
                                                       and shipped and transported in and affecting
                                                       interstate commerce by any means, including by
                                                       computer.

     This criminal complaint is based upon these facts:
      X     Continued on the attached sheet.


                                                            MICHAEL C. DEVINE
                                                            Special Agent, Federal Bureau of Investigation
                                                            (FBI)

Pursuant to Fed. R. Crim. P. 4.1, this Complaint is presented by reliable electronic means. The above-
named agent provided a sworn statement attesting to the truth of the Complaint and Affidavit by
telephone.

 Date: March 21, 2024
                                                                          Judge’s signature

 City and state: Chicago, Illinois                                 KERI L. HOLLEB HOTALING
                                                                      U.S. Magistrate Judge
                                                                      Printed name and title
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 UNITED STATES DISTRICT COURT

 NORTHERN DISTRICT OF ILLINOIS

                                      AFFIDAVIT

      I, MICHAEL C. DEVINE, being duly sworn, state as follows:

      1.     I am a Special Agent with the Federal Bureau of Investigation. I have

been so employed since approximately June 2016. I am currently assigned to FBI

Chicago’s Child Exploitation and Human Trafficking Task Force. As part of my

duties, I investigate criminal violations of federal criminal law, specifically pertaining

to child pornography and online enticement of minors, including but not limited to,

the illegal possession, production, distribution, and receipt of child pornography in

violation of 18 U.S.C. §§ 2251, 2252(a) and 2252A, as well as the sexual exploitation

of minors, including but not limited to, violations of 18 U.S.C. §§ 1591(a) and (b)(1),

2251, 2422(b), and 2423(a)).        I have received specialized training and hold

certifications in the areas of computer forensics, the Internet, mobile device forensics,

and the storage and/or distribution of child pornography. As a member of the Child

Exploitation and Human Trafficking Task Force, I have also consulted with

colleagues who have many years of experience investigating child exploitation cases

and have participated in the execution in numerous arrest and search warrants

related to child exploitation and human trafficking offenses.

      2.     This affidavit is submitted in support of a criminal complaint alleging

that on or about September 11, 2023, Adam Stafford King (“KING” or “defendant”)

knowingly distributed child pornography, as defined in Title 18, United States Code,

Section 2256(8)(A), using a means and facility of interstate commerce, and shipped
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and transported in and affecting interstate commerce by any means, including by

computer, in violation of Title 18, United States Code, Section 2252A(a)(2)(A) (the

“Subject Offense”). Because this affidavit is being submitted for the limited purpose

of establishing probable cause in support of a criminal complaint charging KING with

the Subject Offense, I have not included each and every fact known to me concerning

this investigation. I have set forth only the facts that I believe are necessary to

establish probable cause to believe that KING committed the Subject Offense.

      3.     The statements in this affidavit are based on my personal knowledge,

recorded social media communications, hotel records, internet protocol (“IP”) records,

electronic communications information obtained by search warrant, open source

internet searches, and on information I have received from other law enforcement

personnel and from persons with knowledge regarding relevant facts.

I.    SUMMARY OF PROBABLE CAUSE

      4.     In summary and as set forth in more detail below, in and around October

of 2023, while investigating the online sexual exploitation of minors, the FBI

identified a subject located in New York City, New York (the “New York Subject”).

The FBI subsequently obtained and executed a search warrant to search the New

York Subject’s electronic devices. Within one of those devices, the FBI identified

communications between the New York Subject and a subject who claimed to be

located in and around Chicago, Illinois (the “Chicago Subject”). The FBI observed

that the Chicago Subject had communicated with the New York Subject using a social

media communication program called “Scruff” under user ID, “175592852” (the




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“Chicago Subject Scruff Account”). The FBI further determined that the Chicago

Subject had also communicated with the New York Subject on the encrypted internet

messaging service Telegram, using the account handle “@pervchidude.” In those

Telegram communications, the FBI discovered that in September 2023, including

specifically on or about September 11, 2023, the Chicago Subject, using the

@pervchidude account, had sent several images and videos depicting child

pornography to the New York Subject.

      5.     After searching the New York Subject’s electronic devices, the FBI

obtained the New York Subject’s permission to use his/her Telegram account (account

handle: “@sb1nyc”). In late 2023 and early 2024, FBI used the @sb1nyc account to

engage in several text conversations with the Chicago Subject over Telegram. In

those text conversations, the Chicago Subject sent images and videos depicting child

pornography, claimed that he had a large digital cache of child pornography stored

on Telegram, and stated that he had previously drugged and sexually abused his

nieces and nephews. The Chicago Subject further stated that he and his husband are

expecting a child by surrogate “due in spring” and that he plans to sexually assault

the child after it is born. In the same text conversation, the Chicago Subject sent a

photograph of a baby’s outfit.      The Chicago Subject also provided personally

identifying information over Telegram, including (1) that his first name is Adam, (2)

that he lives in the Chicago area, (3) that he works in medicine (specializing in eyes),

and (4) sent a photograph of what he claimed to be his penis, which appears to be that

of a white male.




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      6.     The FBI obtained Internet Protocol (“IP”) records for the Chicago

Subject Scruff Account. Those records show that in 2019 the Chicago Scruff Account

accessed the internet at certain hotels in Pennsylvania and Illinois. According to

subpoena records from those hotels, an individual named ADAM KING was a

registered guest at the time the Chicago Scruff Account accessed each hotel IP

address. Additionally, according to publicly available records, ADAM KING served

as a judge at a dog show held nearby the Pennsylvania hotel on or around the date

on which the Chicago Scruff Account accessed the Pennsylvania hotel’s internet.

      7.     The Chicago Subject also stated on Telegram that he and his husband

would be traveling to New York City in late-January 2024 and later mentioned

staying at a hotel called the “Lotte Palace.” According to records obtained from the

Lotte New York Palace Hotel in New York City, ADAM KING of Elburn, Illinois

stayed as a guest of that hotel in and around late-January 2024. Moreover, according

to publicly available information, KING’s hotel stay coincided with an American

Kennel Club (“AKC”) Meet the Breeds event held in New York City.

      8.     According to open-source and database searches, DR.               ADAM

STAFFORD KING is a veterinary ophthalmologist residing in Elburn, Illinois. KING

is also a dog breeder and dog show judge who frequently travels to dog shows around

the country, to include a dog show in Orlando, Florida on dates the Chicago Subject

claimed to be in Orlando. Additionally, according to a publicly available internet baby

registry, KING and his husband are expecting the birth of a child on or about March

29, 2024.




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      9.      On or about March 5, 2024, the FBI executed a search warrant on

KING’s residence in Elburn, Illinois. 1 During the execution of the warrant, FBI

agents discovered KING in the shower with his cellular phone despite multiple

announcements of the presence by the FBI agents conducting the search.            Law

enforcement found a baby outfit in the residence consistent with the image sent by

the Chicago Subject over Telegram to the New York Subject in support of

@pervchidude’s claims of being a father-to-be.

      10.     During a forensic search of KING’s iPhone, the FBI observed that the

Telegram application had previously been installed on the iPhone but had been

deleted.    Artifacts from the forensic image of KING’s iPhone indicate that the

Telegram app was used on his iPhone as recently as March 3, 2024. The FBI also

discovered on KING’s iPhone several images that the Chicago Subject sent the New

York Subject via the @pervchidude Telegram account, including the photograph of a

white male’s penis and the ultrasound photograph. Also found on KING’s iPhone

were text messages indicating that KING was in the Northern District of Illinois on

or about September 11, 2023—the same date the Chicago Subject sent several images

and videos depicting child pornography to the New York Subject

      11.     Based on these facts and those listed below, I submit that probable cause

exists to believe that on or about September 11, 2023, ADAM KING distributed child

pornography, in violation of Title 18, United States Code, Section 2252A(a)(2)(A).



1 Search warrant 24 M 151 authorized by the Honorable Magistrate Judge Jeffrey Cole on

March 4, 2023.



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II.    LEGAL BACKGROUND

             A. Activities relating to material constituting or containing child
                pornography (18 U.S.C. § 2252A)

       12.     A violation of Title 18 United States Code, Section 2252A(a)(2) requires

proof that an individual knowingly receives, or distributes, any child pornography

using any means or facility of interstate commerce or that has been mailed, or has

been shipped or transported in or affecting interstate or foreign commerce by any

means, including by computer; or any material that contains child pornography using

any means or facility of interstate or foreign commerce or that has been mailed, or

has been shipped, or transported in or affecting interstate or foreign commerce by

any means, including by computer;

       13.     A violation of Title 18 United States Code, Section 2252A(a)(5)(B)

requires proof that an individual knowingly possesses, or knowingly accesses with

intent to view, any book, magazine, periodical, film, videotape, computer disk, or any

other material that contains an image of child pornography that has been mailed, or

shipped or transported using any means of facility of interstate or foreign commerce

or in or affecting interstate or foreign commerce by any means, including by

computer, or that was produced using materials that have been mailed, or shipped or

transported in or affecting interstate or foreign commerce by any means, including

by computer;

             B. Definitions

       14.     “Child Pornography” as defined by 18 U.S.C. Section 2256(8) means any

visual depiction, including any photograph, film, video, picture, or computer, or




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computer-generated image or picture, whether made or produced by electronic,

mechanical, or other means, of sexually explicit conduct, where

                a.      The production of such visual depiction involves the use of a

minor engaging in sexually explicit conduct;

                b.      Such visual depiction is a digital image, computer image, or

computer-generated image that is, or is indistinguishable from, that of a minor

engaging in sexually explicit conduct; or

                c.      Such visual depiction has been created, adapted, or modified to

appear that an identifiable minor is engaging in sexually explicit conduct.

      15.       “Minor” as defined by 18 U.S.C. Section 2256(1), is any person under the

age of eighteen years.

      16.       “Sexually Explicit Conduct” as defined by 18 U.S.C. Section 2256(2), is

actual or simulated:

            a. Sexual intercourse, including genital-genital, oral-genital, anal-genital, or oral-   anal,
               whether between persons of the same or opposite sex;

            b. Bes�ality;

            c. Masturba�on;

            d. Sadis�c or masochis�c abuse; or

            e. Lascivious exhibi�on of the genitals or pubic area of any person


      17.       “Visual Depiction” as defined by 18 U.S.C. Section 2256(5), includes

undeveloped film and videotape, and data stored on computer disk or by electronic

means, which is capable of conversion into a visual image




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      18.      “Computer” as defined by 18 U.S.C. 1030(e)(1) means an electronic,

magnetic, optical, electrochemical, or other high speed data processing device

performing logical, arithmetic, or storage functions, and includes any data storage

facility or communications facility directly related to or operating in conjunction with

such device;

      19.      “Internet” is defined as the global system of interconnected computer

networks that uses the Internet Protocol suite (TCP/IP) to communicate between

networks and devices. It is comprised of private, public, academic, business, and

government networks ranging in scope from local to global. In order to access the

Internet, an individual must have an Internet Service Provider. The Internet Service

Provider allows the host computer access to the Internet by assigning the device with

an Internet Protocol “IP” Address and directing all outbound and inbound Internet

traffic to and from the device based on this IP Address.

      20.      “IP Address” refers to the unique number used by a computer to access

the Internet. IP Addresses can be “dynamic,” meaning that the Internet Service

Provider assigns a different unique number to a computer every time it accesses the

Internet; or IP Addresses can be “static,” meaning that the IP Address stays the same

each time the computer accesses the Internet. Any device connected to the Internet

must have an IP Address.

      21.      “Encryption” is defined as the process of encoding information and is

used to deny the ability for possible interceptors to decipher messages or transmitted

data. The encryption process converts the original representation of the information,




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known as plain text, into an alternate, often scrambled and indecipherable

representation of information, known as cipher text. In order to encrypt data, a

pseudo-random “key” is generated which allows the user to convert the information

from cipher text to plain text and thus read or interpret the data. Based on my

training and experience, individuals will likely store their keys on removable and

easily accessible media such as USB thumb drives, disks, external hard drives, etc.

         22.   “Cloud” is the on-demand availability of computer system resources,

especially data storage and computing power, without direct active management by

the user. Large clouds often have functions distributed over multiple locations, each

of which is a data center. Cloud computing relies on sharing resources to achieve

coherence and typically uses a pay-as-you-go model.

III.     TECHNICAL BACKGROUND

                      A.    Scruff

         23.   Scruff is a product offered by Perry Street Software, Inc., a company

headquartered in New York City, New York. Scruff is a free access social networking

application (or “app”) that can be accessed at https://www.scruff.com/ or through both

the Apple, Inc. App Store and the Google, LLC. Play Store. Scruff is available for

download globally and was designed for members of the LGBTQIA+, specifically men

seeking other men.

         24.   Scruff requires all users to be at least 18 years of age. In order to create

an account, an end user must provide his/her birthday, a profile name, a profile photo,

and email account. Additionally, Scruff requests access to the end user’s geolocation




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data. If the end user opts not to share their geolocation data, Scruff’s functionality

as a social networking application is significantly affected.

       25.     Once an account is created, the end user has the ability to add to his/her

profile with additional information such as height, weight, ethnicity, gender

pronouns, interests, and relationships. The end user also has the ability to add hash

tags 2, join communities, and add interests.              The Scruff algorithm uses this

information to present potential matches to the end user on the application.

       26.     Scruff allows the end user to browse through more than 15 million users

worldwide, which are then sorted based on geolocation or proximity to the end user,

verification status, and account creation date. An account is verified when the end

user’s profile photo is approved by Scruff personnel. An end user also has the option

to upgrade their account to Scruff Pro, which adds additional functionality to the

application and prioritizes the end user’s profile to others seeking people with similar

interests. Scruff Pro costs an additional $17.00 USD a month.

       27.     The end user’s profile is then judged or compared by the other Scruff

users based on “woofs.” “Woofs” are positive likes for a user’s profile and denotes a

user’s interest in that particular person. Scruff also allows the end users the ability

to direct message other Scruff users as well as share private photo albums. Scruff

Match is a feature within the application that presents the end user with a random

profile and the end user has the ability to swipe right to match with the profile or



2 A hash tag is a word or phrase preceded by the hash sign #, used on social media sites and

applications, to identify digital content on a specific topic



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swipe left to reject.   Finally, Scruff Events presents the end user with LGBTQIA+

events within the end user’s general location.

       28.     According       to   the   Scruff   Privacy    Policy    outlined   at

https://www.perrystreet.com/privacy/, Scruff collects the following information: real

name, alias, email address, mailing address, telephone number, date of birth, profile

name, profile photo, account name, picture, height, weight, occupation, education,

physical characteristics or description, gender identity, HIV status (if voluntarily

provided by the end user), ethnicity, personal interests, relationships and

preferences.

       29.     Additional information such as contents of any public or private

messages sent through the service, and the contents of any public or private

comments posted through the service, and any interaction with third parties through

the service are also stored.

       30.     Scruff also maintains hardware and software information of its end

users to include advertising identifiers, operating system, browser type, mobile

network information, make of device, model of device, serial number of device, IP

address, domain name of internet service provider, platform type, Service pages at

the time of visits, information requiring access to the service, anonymized

information, history of previous geographic locations; and current geographic

location.

       31.     All data retained from the end user by Scruff are stored on the systems

within the United States.




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            B. Telegram 3

      32.     According to Delaware Department of State records, Telegram LLC was

a limited liability company registered in Delaware. According to the registered agent

for Telegram LLC, Telegram LLC dissolved on September 15, 2017.

      33.     According to filings made by Telegram LLC to the U.S. Patent and

Trademark Office (USPTO), Telegram LLC registered the mark “Telegram” and

identified itself as providing audio and video broadcasting services over the internet.

It further identified itself as a communications service that provides an online forum

for transmitting messages among users in the field of general interest. According to

the USPTO, the trademark is currently held by Telegram FZ-LLC Business Central

Tower, Tower A Office 2301-2303 Dubai, United Arab Emirates.

      34.     According to the Apple App Store, Telegram Messenger is distributed by

Telegram FZ-LLC.

      35.     According to information made publicly available by the United

Kingdom and other open source research, Telegram Messenger Inc. is an entity

organized under the laws of the British Virgin Islands and is located at Craigmuir

Chambers, Road Town, Tortola, British Virgin Islands, VG 1110, with registered

offices at Vistra Corporate Services Centre, Wickhams Cay II, Road Town, Tortola,

British Virgin Islands, VG 1110. Telegram Messenger Inc. is a designated member of

Telegram Messenger LLP.



3 The information in this section is based on my training and experience, the training and
experience of other law enforcement officers, and review of publicly available information
regarding Telegram.



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      36.    According to publicly available records, Telegram Group Inc. is an entity

organized under the laws of the British Virgin Islands and is located at Craigmuir

Chambers, Road Town, Tortola, British Virgin Islands, VG 1110, with registered

offices at Vistra Corporate Services Centre, Wickhams Cay II, Road Town, Tortola,

British Virgin Islands, VG 1110. Telegram Messenger Inc. is a wholly owned

subsidiary of Telegram Group Inc.

      37.    On or about May 11, 2018, according to public records, Telegram

Messenger Inc. filed a complaint in the United States District Court for the Northern

District of California, Case No. 18-CV-2811. The complaint explained that the 4

“’Telegram Group’ was founded in 2013 with the primary mission of developing online

products and services using encrypted technology.” R. 1 at ¶ 16. The complaint

continued, “Telegram’s first project was a messaging application with a particular

focus on speed and security (‘Telegram Messenger App’).”

      38.    According to a filing with the U.S. Securities Exchange Commission

made by Telegram Group Inc., the director of the entity is Pavel Durov, who is widely

known to be a founder of the Telegram messaging application.

      39.    According to the Apple App Store, Telegram FZ-LLC is the developer of

the Telegram mobile application.

      40.    According to Telegram’s website, Telegram FZ-LLC is a member entity

of Telegram Group and is located in Dubai. According to publicly available records,

Telegram FZ-LLC is located at Business Central Towers, Tower A, Office 1003/1004,

P.O. Box 501919, Dubai, United Arab Emirates 501919.




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      41.    According to Telegram,

      To protect the data that is not covered by end-to-end encryption, Telegram uses
      a distributed infrastructure. Cloud chat data is stored in multiple data centers
      around the globe that are controlled by different legal entities spread across
      different jurisdictions. The relevant decryption keys are split into parts and
      are never kept in the same place as the data they protect. As a result, several
      court orders from different jurisdictions are required to force us to give up any
      data.
      Thanks to this structure, we can ensure that no single government or block of
      like-minded countries can intrude on people’s privacy and freedom of
      expression. Telegram can be forced to give up data only if an issue is grave and
      universal enough to pass the scrutiny of several different legal systems around
      the world.
      To this day, we have disclosed 0 bytes of user data to third parties, including
      governments.

https://telegram.org/faq#q-do-you-process-data-requests (last accessed on February
27, 2024)

      42.    Based on my training and experience, I have learned that Telegram

Messenger is a mobile and desktop messaging application. It can be used on

smartphones, such as Apple iOS and Google Android devices, and on desktop

computers, by users to send messages and media to each other.

      43.    To sign up for a Telegram account, a user must provide a phone number.

Telegram verifies the phone number through a text message sent to the phone

number 4.   Telegram users can also select a username but are not required to.

Usernames are unique, meaning only one user can have a username. Telegram users

can find other users by searching for the username or by using the known phone

number of a user. However, users cannot view the phone number associated with a



4 https://telegram.org/faq#q-i-have-a-new-phone-number-what-do-i-do (last accessed on
February 27, 2024.



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username. Users can also select a display name, such as a first and last name. Display

names are not unique.

       44.    Telegram offers a variety of communication methods for its users:

              a.     Chats. Users on Telegram can communicate with each other

through chats. They can send each other text messages, photos, videos, any files, and

make voice calls.

              b.     Secret Chats. Secret chats use end-to-end encryption, which

means only the sender and recipient have the ability to view the content of the chats.

These secret chats also disappear and can be set to self-destruct.

              c.     Groups. Telegram allows collections of users to communicate

with each other in chat rooms called groups. Groups may be invitation only.

       45.    According to Telegram’s privacy policies, Telegram stores basic user

account data, including mobile number, profile name, profile picture, screen names,

and e-mail address, to the extent a user has provided this information. 5

       46.    Telegram also stores messages, photos, videos and documents from a

user’s chats and private messages, as well as from public channels and public groups

in which the user participates.

       47.    Telegram also stores a user’s contacts and syncs with the user’s contacts

on his mobile device.

       48.    Telegram also stores cookies on a user’s device that allow Telegram to

provide and customize its services to the user.


5 https://telegram.org/privacy (July 27, 2020) (last accessed on March 20, 2024).




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        49.   Telegram states that it retains this data “for as long as it is necessary

for us to fulfill our obligations in respect of the provision of the Services.”

        50.   Telegram has advertised that it has over two hundred million active

monthly users. Based on my training and experience, individuals in possession of

child pornography use the platform’s robust security features to seek out likeminded

users in order to share child pornography content with other users.

IV.     FACTS SUPPORTING PROBABLE CAUSE

        A. The New York Subject and Telegram Communications with
           @pervchidude

        51.   In and around October 2023, the FBI was investigating the New York

Subject for engaging in the transmission and distribution of child pornography. On

or about October 3, 2023, the FBI executed a search warrant, which revealed child

pornography images and videos stored on an electronic device belonging to the New

York Subject. Also on that electronic device, were text communications with various

individuals over Scruff and Telegram, including with an individual the FBI identified

as the Chicago Subject (and later identified as ADAM KING).

        52.   Communications discovered on the New York Subject’s electronic device

revealed communications showing that the New York Subject was communicating

with an individual in Chicago (the “Chicago Subject”) interchangeably on Scruff and

Telegram. For example, on or about September 11, 2023, at approximately 2:04 PM

ET, Scruff user ID: 175592852 (the “Chicago Subject Scruff Account”) asked for the

New York Subject’s Telegram account name. The New York Subject provided the

Telegram account: “@sb1nyc.” At approximately 2:17 PM ET, the Chicago Subject



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Scruff Account user then informed the New York Subject that he had contacted the

@sb1nyc Telegram account.

      53.    At approximately 2:16 PM ET (one minute earlier), the New York

Subject’s Telegram account: @sb1nyc, received a message from Telegram display

name “J S” with the account username “@pervchidude.” The message stated, “Hey

from scruff.” Based on the timing of these messages and their content, and my

training and experience, I believe that the user of the Chicago Subject Scruff Account

is the same user as Telegram account: @pervchidude, and that both are the accounts

of the Chicago Subject.

      54.    According to the communications obtained from the New York Subject’s

electronic device, the @sb1nyc Telegram account and the @pervchidude account

continued to communicate via Telegram from approximately September 11, 2023, to

approximately September 19, 2023. In those communications, the Chicago Subject

(using the @pervchidude Telegram handle) indicated to @sb1nyc that they had

previously met virtually, had communicated on Scruff, and that they both identify as

“pervs.” For example, on or about September 11, 2023, at approximately 4:39 pm CT,

the Chicago Subject wrote, “Chicago perv here.” 6           Based on my training and

experience, I know the term “perv” is often used to describe someone with an interest

in pedophilia.




6 The Telegram chats reviewed by the FBI log the date and time each chat was sent using

Coordinated Universal Time (UTC). Because there is probable cause to believe KING was in
the Northern District of Illinois when he sent the chats, I have converted the UTC times to
Central Standard Time by subtracting six hours from the UTC time.



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       55.    Further chats between @pervchidude and @sb1nyc confirmed the

Chicago Subject’s interest in pedophilia. For example, within the chat reviewed by

the FBI, on or about September 11, 2023, at approximately 4:40 pm CT, @sb1nyc

inquired about a preferred age range to which @pervchidude replied that “single

digits [i.e., children under 10] are my fav [favorite].” 7

       56.    During the text chat on September 11, 2023, the New York Subject and

the Chicago Subject exchanged several videos depicting child pornography, including

the following videos sent by @pervchidude to @sb1nyc:

              a. At approximately 3:45 pm CT, @pervchidude sent an approximately

                  58 second video of an adult white male, anally penetrating a young,

                  prepubescent, white boy, whose genitals were also fully exposed.

              b. At approximately 3:47 pm CT, @pervchidude sent an approximately

                  5 minute, 24 second video of a young, white teen, aged approximately

                  10-14 years old, disrobe completely and climb on top of an older white

                  male and began thrusting his genitals against the adult male’s

                  genitals.




7 The summaries of Telegram text chat conversations in this affidavit do not include reference

all the topics covered during the conversations. Further, quoted material from the recorded
conversations as set out in this affidavit is taken from draft summaries, not final transcripts.
The summaries do not include references to all statements made by the speakers on the topics
that are described by the speakers. At various points in the Affidavit, I have indicated
(sometimes in brackets) my interpretation of words and phrases used in the Telegram chats.
My interpretations are based on the contents and context of the conversations, events that
took place before and after the conversations, my knowledge of the investigation, my
experience and training, and the experience and training of other law enforcement agents in
this investigation.



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              c. At approximately 3:47 pm CT, @pervchidude sent an approximately

                 37 second video of an adult white male anally penetrating a white

                 prepubescent young male.

              d. At approximately 3:47 pm, CT, @pervchidude sent an approximately

                 13 second video in which a young prepubescent white male is laying

                 between two adult white males. The young prepubescent white male

                 has each hand wrapped around the erect penises of the adult white

                 males.

       57.    After reviewing the above communications, the FBI received consent

from the New York Subject to assume the New York Subject’s identity under

Telegram account @sb1nyc.

       58.    In and around November of 2023, the FBI, using the @sb1nyc account,

communicated with the Chicago Subject at the @pervchidude on Telegram. 8 As part

of those communications, the Chicago Subject wrote on or about November 9, 2023,

at approximately 4:39 pm CT, “Chicago perv here.” The Chicago Subject further

wrote, “0-9 [years old] my fav…B[oy] and g[irl], though prefer b[oy].”

       59.    The Chicago Subject also wrote about his experience abusing children.

For example, on or about November 9, 2023, the Chicago Subject wrote he is an

“uncle,” and “I play with nephews and nieces. I’ve done almost everything. Not full

on fucking, can’t send them home damaged…But I’ve gotten in them…I generally


8 This investigation included the use of an online covert employee (“OCE”), who presented to

be the New York Subject by using the @sb1nyc Telegram account during online chat
communications with @pervchidude. .



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sedate them.” The Chicago subject described how he would sedate the children before

abusing them, writing, “I generally use Benadryl,” noting that it provides a “wide

safety margin,” and is “easy,” claiming, “it generally takes 30-45 min[utes],” and “I

usually double an adult dose.”

      60.    Additionally, the Chicago Subject mentioned that he and his husband

are expecting a child, writing on or about November 9, 2023 at approximately 4:42

pm CT, “Just as an fyi, you’re working on another dad here lol.” The Chicago Subject

further noted that his “[k]id is due in the spring,” that he is married “[t]o a non perv,”

who is his “[h]usband,” and they are having a child, “through surrogacy.”            The

Chicago Subject expressed interest in sexually assaulting the child when it was no

longer a newborn by stating on or about November 9, 2023 at approximately 4:51 pm

CT, “I do love the idea of inviting a buddy over when I have my boy … just has to be

someone I can trust obviously … I plan on getting my cock in him asap.”

      61.    On two separate occasions, the Chicago Subject sent ultrasound

photographs of an unborn child, who the Chicago Subject represented to be of the

child he and his husband are expecting by surrogate in the spring of 2024.            For

example, on or about December 21, 2023, at approximately 2:15 pm CT, the Chicago

subject sent an ultrasound photograph, and explained, “[t]he face is on the left.”

      62.    The Chicago Subject made several other statements referencing the

future arrival of the baby. For example, Additionally, on or about December 29, 2023,

at approximately 11:21 am CT, the Chicago Subject sent @sb1nyc a message, writing




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“We got so much baby stuff for Christmas!” and sent a photograph of a baby’s outfit.

The photograph sent by the Chicago Subject is depicted below.




The Chicago Subject further noted that the baby is due in the “[b]eginning of April.”

      63.      On several occasions, the Chicago Subject bragged in the chat about

possessing a large collection of child pornography that he stored in Telegram Secret

chats on his account. For example, on or about November 9, 2023 at approximately

4:56 pm CT, when @sb1nyc asked about his collection of videos, the Chicago Subject

replied, “I have tons haha.” And on or about November 14, 2023 at approximately

4:36 pm CT, he wrote, “I have a very extensive collection lol,” that he stored “on

tele[gram].”

      64.      On multiple occasions, the Chicago Subject sent the FBI (using the

@sb1nyc Telegram account) images and videos of child pornography and sexually



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suggestive material featuring minors. For example, or about December 11, 2023, at

approximately 3:45 pm CT, the Chicago Subject sent an approximately 43-second

video depicting two white males, aged approximately 9 to 11 years old, performing

oral sex on an adult white male’s erect penis. And on or about February 14, 2024, at

approximately 12:13 pm CT, the Chicago Subject sent an image of two prepubescent

white children, one male, aged approximately 6 to 9 years old, and one female, aged

approximately five to seven years old, completely nude on a beach.

       65.    Additionally, on or about November 13, 2023, at approximately 5:39 pm

CT, the Chicago Subject stated that he and his husband were planning a trip to New

York City in and around January 2024 to watch several Broadway shows. The

Chicago Subject later confirmed on January 31, 2024 that he and his husband had

visited New York City and had stayed at a hotel called the “Lotte palace.” 9

       66.    During the Telegram chats with @sb1nyc, the Chicago Subject revealed

several facts about his identity. For example, on or about December 7, 2023 at

approximately 5:05 pm CT, the Chicago Subject wrote, “medical field here.” And in

and around December 2023 and January 2024, @sb1nyc and @pervchidude

repeatedly discussed the Chicago Subject’s profession as a doctor. For example, on or

about December 29, 2023, at approximately 4:33 pm CT, @sb1nyc asked

@pervchidude, “What’s your specialty?” to which the Chicago Subject replied, “Eyes.”

Additionally, on or about January 11, 2024, @sb1nyc asked @pervchidude, “what



9 Based on an open-source internet search, the Lotte New York Palace Hotel is located at 455

Madison Avenue, New York, NY 10022.



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made you want to become an eye doctor?” to which the Chicago Subject replied, “I just

love eyes.” And on or about January 22, 2024, @sb1nyc disclosed his first name,

writing, “Funny we have been talking to [sic] long and I never told you my name.” In

response, the Chicago Subject wrote, “Adam here!”        Furthermore, on or about

February 14, 2024 at approximately 12:39 pm CT, @pervchidude sent @sb1nyc a

photograph of what he represented to be his penis. The photograph appeared to

depict a white male wearing blue medical scrub pants.

B. The FBI Identifies DR. ADAM STAFFORD KING as the Chicago Subject
   using the @pervchidude Telegram account.

                  i. Records Show that the Chicago Scruff Account was
                    Accessed by IP Addresses at Hotels Where KING was
                    Staying as a Registered Guest in 2019.

      67.    According to Scruff Records, the Chicago Subject Scruff Account was

accessed by IP Address 24.229.250.113 on or about December 14, 2019. According to

a law enforcement database, IP Address 24.229.250.113 resolved to PenTeleData

whose records revealed the IP Address was registered to a Hilton Garden Inn located

at 1787-B Airport Road, Allentown, PA 18109. According to records from the Hilton

Garden Inn in Allentown, Pennsylvania, from on or about December 13, 2019 to on

or about December 15, 2019, ADAM KING was a registered guest at the hotel. When

staying at the Hilton Garden Inn, KING registered his home address in Elburn, IL

60119. According to a publicly available website, “Dr. Adam King” served as a judge

for the Lehigh Valley Kennel Club Star of Bethlehem Dog Show, held in Allentown,

Pennsylvania in and around December 13-15, 2019. A photograph from the website

purporting to be an image of KING serving as a dog show judge on or about December



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14, 2019 is depicted below. 10




       68.   According to Scruff Records, the Chicago Subject Scruff Account was

also accessed on or about December 21, 2019 by IP Address 198.40.225.246.

According to records obtained from Mediacom, IP Address 198.40.225.246 was

registered to the Best Western Plus Green Mill Village Hotel & Suites Convention

Center located at 917 Green Mill Road, Arcola, IL 61910. According to records

obtained from the Best Western Plus, an individual named “Adam King” was a

registered guest at the hotel on or about December 21, 2019.




10  Lehigh Valley Kennel Club, Inc., December Points Show, available at
http://lehighvalleykennelclub.com/index.php/events/december-point-show (last accessed on
March 21, 2024).



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                  ii. Hotel Records Identify KING as having stayed at the
                     Lotte New York Palace Hotel in New York from January
                     25-29, 2024.

       69.   According to records from the Lotte New York Palace Hotel in New York

City, New York, from January 25, 2024, to January 29, 2024, ADAM KING of

“Elburn, IL 60119,” was a guest at the hotel.       This is consistent with the Chicago

Subject’s statement that he and his husband stayed at the “Lotte Palace” in New York

in late-January of this year.

       70.   Additionally, according to publicly available records, on or about

January 27-28, 2024, the AKC held a “Meet the Breeds” event on at the Jacob K.

Javits Center in New York City. 11

                 iii. Public Records Identify ADAM KING as a Veterinary
                     Ophthalmologist Working in Chicago.

       71.   According to open-source database searches, KING is employed as a

staff ophthalmologist at MedVet Chicago and the Ophthalmology Department Lead

for MedVet nationally. For example, MedVet’s website lists Dr. ADAM KING as a

board certified veterinary ophthalmologist, and the “Ophthalmology Specialty Leader

for all MedVet locations.”      A screenshot of MedVet’s website depicting KING is

below. 12




11 AKC Meet the Breeds 2024, https://www.akc.org/sports/akc-meet-the-breeds/ (last accessed

on March 21, 2024).
12MedVet, Dr. Adam King, available at: http://www.medvet.com/doctor/adam-king/ (last
accessed on March 20, 2024).



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       72.   According to the website for the American Kennel Club (“AKC”), KING

is an AKC dog show judge and a “board-certified veterinary ophthalmologist.” 13

According to a “Dog News” website, KING is scheduled to serve as a judge for the

2024 Westminster Kennel Club Dog Show. 14 Additionally, according to publicly

available information, KING is a dog breeder and operates a Havanese dog breeding

kennel called “Askin Havanese. 15 Photographs of KING on the AKC and Askin

Havanese websites match the appearance of KING’s Illinois Driver’s License

photograph, which is depicted below.




13 American Kennel Club, AKC Educated Breeder Webinar Series: Upcoming Webinar,
https://www.akc.org/expert-advice/dog-breeding/akc-educated-breeder-webinar-series-
upcoming-webinars/ (last accessed on March 21, 2024).
14  Dog News, Westminster Kennel Club Announces 2024 Judging Panel,
https://dognews.com/us-news/westminster-kennel-club-announces-2024-judging-panel (last
accessed on March 21, 2024).
15 Askin Havanese, https://www.askinhavanese.com/ (last accessed on March 21, 2024).




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      73.    KING’s occupation as a veterinary ophthalmologist is consistent with

the Chicago Subject’s comments about being an eye doctor.

                                 iv.   An Online Baby Registry Shows that
                                 KING and His Husband are Expecting a Child
                                 in late-March 2024.

      74.    The FBI identified KING’s publicly available Facebook page, which has

user name “Adam King” and has a profile photograph of KING. According to KING’s

Facebook page, KING resides in Elburn, Illinois. Additionally, KING’s Facebook

profile page shows KING at a dog competition examining a Havenese breed dog. A

screenshot of KING’s Facebook profile is below.




      75.    According to KING’s Facebook page, KING married Individual A (a

male, consistent with the Chicago Subject’s references to a husband), in October 2016.

      76.    Publicly available information from thebump.com, indicates that KING

and Individual A have an online baby gift registry for a child due on or about March

29, 2024.


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       77.   This information is consistent with the Chicago Subject’s sending of

ultrasound photographs of an unborn child and statements that he and his husband

are expecting a baby in at the “beginning of April.”

                                 v.   The Chicago Subject claimed to be
                                 taking a trip to Orlando that coincided with
                                 KING’s service as a dog show judge in Orlando.

       78.   On or about December 14, 2023, at approximately 4:34 pm CT, the

Chicago Subject wrote, “Headed to FL [Florida] this weekend.” When asked where

specifically, the Chicago Subject replied, “Orlando.”

       79.   Three days later, on or about December 17, 2023, at approximately 11:26

am CT, @sb1nyc asked the Chicago Subject if he was visiting “Disney” while in

Orlando. The Chicago Subject replied, “It’s been fun! But a work trip, no Disney.”

The next day, on or about December 18, 2023, the Chicago Subject noted that he

“[j]ust got back home!” from Orlando.

       80.   Based on a review of publicly available information, the Chicago

Subject’s trip to Orlando Florida, which, based on his Telegram messages, took place

on the weekend of December 16-17, 2023, coincides with KING’s service as a dog show

judge in Orlando. According to the American Kennel Club website, the 2023 AKC

National Championship dog show was held “at the Orange County Convention Center

in Orlando, Florida on Saturday, December 16 and Sunday, December 17, 2023.”16



16 2023 AKC NATIONAL CHAMPIONSHIP JUDGING PANEL NOW AVAILABLE,
https://www.akc.org/press-releases/2023-akc-national-championship-judging-panel-now-
available/ (last accessed on March 21, 2024).




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The website lists the judges who will be participating in the dog show, and lists

“Adam Stafford King” of “Elburn, IL” as the judge assigned to “Best Junior Handler.”

      81.    Based on this information, KING’s service as a dog judge in Orlando,

Florida on or about December 16-17, 2023 appears to coincide with the dates the

Chicago Subject claims to have been in Orlando “for work.”

      C. March 5, 2024: Execution of a Search Warrant at KING’s residence

      82.    On or about March 5, 2024, the FBI executed a federal search warrant

on the residence of KING in Elburn, Illinois. Upon execution of the federal search

warrant, the FBI entered the master bathroom and observed KING in the shower

with his Apple iPhone 11 Pro, despite multiple verbal announcements of the FBI’s

presence.

      83.    FBI discovered a baby outfit in the residence that is consistent in

appearance with the baby outfit that appears in a photograph sent by the Chicago

Subject to the New York Subject on or about December 29, 2023 when referring to

the Chicago Subject’s claims of being a father-to-be. A photograph of the baby outfit

the FBI found hanging in a closet at KING’s residence is depicted below.




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      84.    KING declined to be interviewed by the FBI; however, he provided the

passcode to his Apple iPhone 11 Pro. During the FBI’s search of KING’s iPhone 11

Pro, the FBI discovered several images that the Chicago Subject sent the New York

Subject via Telegram. For example, the FBI discovered the ultrasound photograph

that the Chicago Subject sent to the New York Subject. When the FBI showed the

ultrasound photograph to KING’s husband, Individual A, he identified the

photograph as that of his unborn child and stated that he and KING are expecting a

child to be born to a surrogate mother located in California on or about March 29,

2024. 17 The statements are consistent with the Chicago Subject’s statements on

Telegram that he and his husband are expecting a child by surrogate.

      85.    The FBI also discovered on KING’s iPhone the photograph of an adult

white male’s penis, with the adult male wearing blue medical scrub pants. The


17 According to United Airlines flight and ticketing records obtained by the FBI, KING is

scheduled to fly on or about March 25, 2024 at 9:08 am CT, on United Flight UA1414 from
Chicago O’Hare International Airport to Sacramento, California.



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photograph found on KING’s iPhone is consistent in appearance with a photograph

that the Chicago Subject sent via Telegram on or about February 14, 2024.

      86.    A forensic search of KING’s iPhone Pro 11 revealed that the Telegram

application had previously been installed on the phone but had been deleted.

Artifacts from the forensic image of KING’s iPhone indicate that Telegram was

installed on his phone as recently as on or about March 3, 2024. Additionally, the

FBI identified that the Scruff application is currently installed on KING’s iPhone.

      D. Text Messages Found on KING’s iPhone Confirm that he was in the
       Northern District of Illinois When Sending the Child Pornography.

      87.    The FBI’s initial forensic review of KING’s iPhone reveal that he was in

the Northern District of Illinois on or about September 11, 2023 on the day he sent

child pornography to the @sb1nyc account over Telegram.

      88.    For example, according to text messages stored on KING’s iPhone, on or

about September 11, 2023 at approximately 4:58 pm CT, sent a text message to

Elements Massage in Geneva, IL at the phone number (630) XXX-XXXX, writing “I

have a massage scheduled for 6 pm but the building appears closed.” On or about

September 12, 2023 at approximately 7:07 am CT, Elements Massage responded: “Hi

Adam, we apologize for just now getting back to you. Yesterday we were closed for a

corporate training day with all employees and did not have any appointments. It

looks like you were scheduled for Monday, 9/18 at 6pm! We apologize for the

confusion – Elements Massage Geneva Reply STOP to unsubscribe”

      89.    Based on a review of public records, Elements Massage is located 507 S

3rd Street, Suite C, Geneva, Illinois 60134.



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      90.    The above text messages were sent approximately one hour after the

Chicago Subject sent the child pornography videos and images to the New York

Subject on Telegram.

      V.     CONCLUSION

      91.    Based upon the above information, I respectfully submit that there is

probable cause to believe that on or about September 11, 2023, in the Northern

District of Illinois, Eastern Division, and elsewhere, ADAM STAFFORD KING

knowingly distributed child pornography, as defined in Title 18, United States Code,

Section 2256(8)(A), using a means and facility of interstate commerce, and shipped

and transported in and affecting interstate commerce by any means, including by

computer, in violation of Title 18, United States Code, Section 2252A(a)(2)(A).

                                       FURTHER AFFIANT SAYETH NOT.


                                       MICHAEL C. DEVINE
                                       Special Agent, Federal Bureau of
                                       Investigation


SWORN TO AND AFFIRMED by telephone March 21, 2024.


Honorable KERI L. HOLLEB HOTALING
United States Magistrate Judge




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